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                                UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS




     DIGITAL VERIFICATION
     SYSTEMS, LLC,
                                                             Case No. 1:23-cv-0351
                 Plaintiff,
                                                             JURY TRIAL DEMANDED
                v.

     QUALIA LABS, INC.

                 Defendant.


                     ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiff Digital Verification Systems, LLC (“Plaintiff” and/or “DVS”) files this complaint against

Qualia Labs, Inc. (“Defendant” and/or “Qualia”) for infringement of U.S. Patent No. 9,054,860

(hereinafter “the ’860 Patent”) and alleges as follows:

                                              THE PARTIES

1.      Plaintiff is a Texas limited liability company with an address of 1 East Broward Boulevard, Suite

        700, Ft. Lauderdale, FL 33301.

2.      On information and belief, Defendant is a Delaware corporation with a place of business at 6501

        W. William Cannon Dr., Austin, Texas 78735. On information and belief, Defendant may be

        served through its registered agent, Nathan Baker, 816 Congress Avenue, Austin, Texas 78701.

        On information and belief, Qualia sells and offers to sell products and services throughout the State

        of Texas, including in this judicial District, and introduces services via its infringing systems into

        the stream of commerce knowing and intending that they would be extensively used in the State




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       of Texas and in this judicial District. On information and belief, Qualia Labs specifically targets

       customers in the State of Texas and in this judicial District.

                                      JURISDICTION AND VENUE

3.     This action arises under the patent laws of the United States, 35 U.S.C. § 271 et seq. Plaintiff is

       seeking damages, as well as attorney fees and costs.

4.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal Question) and 1338(a)

       (Patents).

5.     This Court has personal jurisdiction over Defendant. Defendant has continuous and systematic

       business contacts with the State of Texas. Defendant directly conducts business extensively

       throughout the State of Texas, by distributing, making, using, offering for sale, selling, and

       advertising (including the provision of interactive web pages and mobile applications) its services

       in the State of Texas and in this District. Defendant has purposefully and voluntarily made its

       infringing systems available to residents of this District and into the stream of commerce with the

       intention and expectation that they will be purchased and used by consumers in this District.

6.     On information and belief, Defendant maintains an ongoing and continuous business presence in

       the State of Texas and specifically within this District, which is illustrated by the fact that Qualia

       Labs has an office located within this District. See Figures 1, 2, and 3 below.




Figure 1 – Qualia’s Austin Job Posting as seen on March 30, 2023, at https://www.qualia.com/careers/.



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Figure 2 – Qualia Website last seen on March 30, 2023, at https://www.qualia.com/careers/.




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                                 Figure 3 – Qualia’s Austin, Texas Location1


7.       Venue is proper in the Western District of Texas as to Defendant pursuant to at least 28 U.S.C. §§

         1391(c)(2) and 1400(b). As noted above, Defendant maintains a regular and established business

         presence in this District.



                                            PATENTS-IN-SUIT

8.       On June 9, 2015, the United States Patent and Trademark Office (“USPTO”) duly and legally

         issued the ’860 Patent, entitled “Digital Verified Identification System and Method.” The ’860

         Patent is attached as Exhibit A.



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    Source, as visited on March 29, 2023: https://www.linkedin.com/company/qualiasoftware/.


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9.    Plaintiff is the sole and exclusive owner, by assignment, of the ’860 Patent.

10.   Plaintiff possesses all rights of recovery under the ’860 Patent, including the exclusive right to

      recover for past, present and future infringement.

11.   The inventor of the ’860 Patent, Mr. Leigh M. Rothschild, was Chairman and Chief Executive

      Officer of IntraCorp Entertainment, Inc., a consumer software company with worldwide product

      distribution. From October 1998 through February 2004, Mr. Rothschild was also Chairman and

      founder of BarPoint.com, a NASDAQ publicly traded wireless company that was the leader and

      early creator of connecting symbology, such as barcodes, to the Internet.

12.   Mr. Rothschild is a former presidential appointee to the High-Resolution Board for the United

      States under former President George H.W. Bush and has also served as an advisor for former

      President Ronald Reagan. Mr. Rothschild served Governors on technology boards, served as a

      special advisor to then Florida Secretary of Commerce John Ellis “Jeb” Bush, and served on the

      IT Florida Technology Board as an appointee of former Governor John Ellis “Jeb” Bush.

13.   Mr. Rothschild chairs the Rothschild Family Foundation, which endows outstanding charities and

      institutions around the world.

14.   The ’860 Patent contains thirty-nine claims including four independent claims (claims 1, 23, 26

      and 39) and thirty-five dependent claims.

15.   The priority date of the ’860 Patent is at least as early January 2, 2008. As of the priority date, the

      inventions as claimed were novel, non-obvious, unconventional, and non-routine.

16.   Plaintiff alleges infringement on the part of Defendant of the ’860 Patent.

17.   The ’860 Patent teaches a system and method for verifying and/or authenticating the identification

      of an entity associated with an electronic file, such as, for example, the digital signatory thereof.

      See ’860 Patent, Abstract.       the system and method include a module generating assembly




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      structured to receive at least one verification data element, and at least one digital identification

      module structured to be associated with at least one entity. Id. The digital identification module

      is capable of being disposed or embedded within at least one electronic file. Id. Further, the digital

      identification module includes at least one primary component structured to at least partially

      associate the digital identification module with the entity, and one or more metadata components.

      Id.

18.   As noted, the claims of the ’860 Patent have priority date at least as early as January 2, 2008. The

      present invention solves problems that existed with then-existing methods for electronically

      signing a document. One common then-existing method of electronically signing a document

      included placing a forward or backward slash prior to and/or following the signatory's typed name.

      ’860 Patent, 1:26-36. Accordingly, an individual named John Doe might electronically sign a

      document by placing “/John Doe/” on a signature line that is typically at or near the end of the

      document. Id. These various electronic signatures or identifiers, however, are rather difficult to

      authenticate, and as such, it was an arduous, if not impossible task to verify and/or authenticate

      the identity of the signatory to a respectable degree. Id.

19.   The claims of the ’860 Patent overcome deficiencies existing in the art as of the date of invention

      and comprise non-conventional approaches that transform the inventions as claimed into

      substantially more than mere abstract ideas. For example, the inventive system includes a module

      generating assembly structured to create at least one digital identification module, wherein the

      digital identification module is structured to be embedded or otherwise disposed within one or

      more electronic files. Id., 1:65-2:3. Moreover, an entity, such as a signatory of an electronic

      document, may communicate at least one verification data element to the module generating

      assembly prior to creating the digital identification module. Id., 2:3-6. The verification data




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      element(s) may include any indicia or data structured to facilitate the verification or identification

      of the corresponding entity. Id., 2:6-9. For example, the verification data element(s) may include

      a username and/or password, date of birth, social security number, driver's license number, credit

      card number, etc. Id., 2:9-12. In at least one embodiment, the digital identification module includes

      at least one primary component and at least one metadata component. Id., 2:25-37. The primary

      component may include, for example, a digital representation of a signature and/or one or more

      reference codes, numbers, or characters. Id. The primary component is generally visible or

      perceptible to a reader, recipient, or other user of the electronic document. Id. In addition, the

      metadata components may be representative of the one or more verification data elements, or other

      data corresponding to the digital identification module and/or entity, including the date and time,

      location of the entity, etc. Id.

20.   The system(s) and methods of the ’860 Patent include software and hardware that do not operate

      in a conventional manner. For example, the software is tailored to provide functionality to perform

      recited steps and the hardware is configured (and/or programmed) to provide functionality recited

      throughout the claims of the ’860 Patent.

21.   The ’860 Patent solves problems with the art that are rooted in computer technology and that are

      associated with electronically signing a document. The ’860 Patent claims do not merely recite the

      performance of some business practice known from the pre-Internet world along with the

      requirement to perform it on the Internet.

22.   The improvements of the ’860 Patent and the features recited in the claims in the ’860 Patent

      provide improvements to conventional hardware and software systems and methods.                  The

      improvements render the claimed invention of the ’860 Patent non-generic in view of conventional

      components.




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23.   The improvements of the ’860 Patent and the feature recitations in the claims of the ’860 Patent

      are not those that would be well-understood, routine, or conventional to one of ordinary skill in

      the art at the time of the invention.

24.   The ’860 Patent was examined by Primary United States Patent Examiner Oscar Louie. During

      the examination of the ’860 Patent, the United States Patent Examiner searched for prior art in the

      following US Classifications: 726/26; 713/176-180; and 380/59.

25.   After conducting a search for prior art during the examination of the ’860 Patent, the United States

      Patent Examiner identified and cited the following as the most relevant prior art references found

      during the search: US 6,757,826; US 6,895,507; US 6,948,069; US 6,978,369; US 7,047,416; US

      7,603,621; US 7,844,918; US 2002/0026575; US 2003/0115151; US 2003/0217275; US

      2005/0050462; US 2005/0160272; US 2006/0173847; US 2008/0040693; and US 2008/0082509.

26.   After giving full proper credit to the prior art and having conducted a thorough search for all

      relevant art and having fully considered the most relevant art known at the time, the United States

      Patent Examiner allowed all of the claims of the ’860 Patent to issue. In so doing, it is presumed

      that Examiner Louie used his knowledge of the art when examining the claims. K/S Himpp v.

      Hear-Wear Techs., LLC, 751 F.3d 1362, 1369 (Fed. Cir. 2014). It is further presumed that

      Examiner Louie had experience in the field of the invention, and that the Examiner properly acted

      in accordance with a person of ordinary skill. In re Sang Su Lee, 277 F.3d 1338, 1345 (Fed. Cir.

      2002). In view of the foregoing, the claims of the ’860 Patent are novel and non-obvious, including

      over all non-cited art which is merely cumulative with the referenced and cited prior art. Likewise,

      the claims of the ’860 Patent are novel and non-obvious, including over all non-cited

      contemporaneous state of the art systems and methods, all of which would have been known to a




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      person of ordinary skill in the art, and which were therefore presumptively also known and

      considered by Examiner Louie.

27.   The claims of the ’860 Patent were all properly issued, and are valid and enforceable for the

      respective terms of their statutory life through expiration, and are enforceable for purposes of

      seeking damages for past infringement even post-expiration. See, e.g., Genetics Institute, LLC v.

      Novartis Vaccines and Diagnostics, Inc., 655 F.3d 1291, 1299 (Fed. Cir. 2011) (“[A]n expired

      patent is not viewed as having ‘never existed.’ Much to the contrary, a patent does have value

      beyond its expiration date. For example, an expired patent may form the basis of an action for

      past damages subject to the six-year limitation under 35 U.S.C. § 286”) (internal citations omitted).

28.   The nominal expiration date for the claims of the ’860 Patent is no earlier than April 7, 2034.

                                           COUNT I
                       (Infringement of United States Patent No. 9,054,860)

29.   Plaintiff refers to and incorporates the allegations in Paragraphs 1 – 28, the same as if set forth

      herein.

30.   This cause of action arises under the patent laws of the United States and, in particular under 35

      U.S.C. §§ 271, et seq.

31.   Defendant has knowledge of its infringement of the ’860 Patent, at least as of the service of the

      present complaint.

32.   The ’860 Patent is valid, enforceable, and was duly issued in full compliance with Title 35 of the

      United States Code.

33.   Upon information and belief, Defendant has infringed and continues to infringe one or more

      claims, including at least Claim 1, of the ’860 Patent by manufacturing, using, importing, selling,

      offering for sale, and/or providing (as identified in the Claim Chart attached hereto as Exhibit B)

      its product that is a process method for e-signing digital documents safely (“Product(s)”), which



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      infringes at least Claim 1 of the ’860 Patent. Defendant has infringed and continues to infringe the

      ’860 patent either directly or through acts of contributory infringement or inducement in violation

      of 35 U.S.C. § 271.

34.   Defendant also has and continues to directly infringe, literally or under the doctrine of equivalents,

      one or more claims, including at least Claim 1, of the’860 Patent, by having its employees

      internally test and use these exemplary Products.

35.   The service of this Complaint, in conjunction with the attached claim chart and references cited,

      constitutes actual knowledge of infringement as alleged here.

36.   Despite such actual knowledge, Defendant continues to make, use, test, sell, offer for sale, market,

      and/or import into the United States, products that infringe one or more claims, including at least

      Claim 1, of the ’860 Patent. On information and belief, Defendant has also continued to sell the

      exemplary Products and distribute product literature and website materials inducing end users and

      others to use its products in the customary and intended manner that infringes one or more claims,

      including at least Claim 1, of the ’860 Patent. See Exhibit B (extensively referencing these

      materials to demonstrate how they direct end users to commit patent infringement).

37.   At least since being served by this Complaint and corresponding claim chart, Defendant has

      actively, knowingly, and intentionally continued to induce infringement of the ’860 Patent, literally

      or by the doctrine of equivalents, by selling exemplary Products to their customers for use in end-

      user products in a manner that infringes one or more claims, including at least Claim 1, of the ’860

      Patent.

38.   Exhibit B includes at least one chart comparing the exemplary claim 1 of the ’860 Patent to

      Defendant’s exemplary Products. As set forth in this chart, the Defendant’s exemplary Products




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        practice the technology claimed by the ’860 Patent. Accordingly, the Defendant’s exemplary

        Products incorporated in this chart satisfy all elements of the exemplary claim 1 of the ‘860 Patent.

39.     Plaintiff therefore incorporates by reference in its allegations herein the claim chart of Exhibit B.

40.     Plaintiff is entitled to recover damages adequate to compensate for Defendant's infringement.

41.     Defendant’s actions complained of herein will continue unless Defendant is enjoined by this court.

42.     Defendant’s actions complained of herein are causing irreparable harm and monetary damage to

        Plaintiff and will continue to do so unless and until Defendant is enjoined and restrained by this

        Court.

43.     Plaintiff is in compliance with 35 U.S.C. § 287.

                                         PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully asks the Court to:

        1.       Enter judgment for Plaintiff on this Complaint on all cases of action asserted herein;

        2.       Enter an Order enjoining Defendant, its agents, officers, servants, employees, attorneys,

                 and all persons in active concert or participation with Defendant who receives notice of the

                 order from further infringement of United States Patent No. 9,054,860 (or, in the

                 alternative, awarding Plaintiff running royalty from the time judgment going forward);

        3.       Award Plaintiff damages resulting from Defendant’s infringement in accordance with 35

                 U.S.C. § 284; and

        4.       Award Plaintiff such further relief to which the Court finds Plaintiff entitled under law or

                 equity.

                                      DEMAND FOR JURY TRIAL

        Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of any

issues so triable by right.




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Dated: March 30, 2023                   Respectfully Submitted

                                        /s/ René A. Vazquez
                                        René A. Vazquez
                                        Virginia Bar No. 41988
                                        rvazquez@ghiplaw.com
                                        M. Scott Fuller
                                        Texas Bar No. 24036607
                                        sfuller@ghiplaw.com
                                        Randall Garteiser
                                        rgarteiser@ghiplaw.com

                                        GARTEISER HONEA, PLLC
                                        119 W. Ferguson Street
                                        Tyler, Texas 75702
                                        Telephone: (903) 705-7420
                                        Facsimile: (903) 405-3999

                                        ATTORNEYS FOR
                                        DIGITAL VERIFICATION SYSTEMS, LLC




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